






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




ANTHONY DEAN DENNIS,


                            Appellant,


v.



THE STATE OF TEXAS,


                            Appellee.
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No. 08-07-00055-CR
	


Appeal from the


Criminal District Court No. 4


of Dallas County, Texas 


(TC# F-05-72986-K) 




MEMORANDUM  OPINION


	Anthony Dennis appeals a judgment revoking community supervision and adjudicating
guilt for the offense of aggravated robbery.  Appellant entered a negotiated plea of guilty to the
charge of aggravated robbery with a deadly weapon and signed a written stipulation and waivers
and consent to defer adjudication.  The trial court admonished Appellant as to the punishment
range and accepted Appellant's guilty plea.  Appellant was placed on deferred probation for five
years and fined $2,000.

	On October 31, 2006, the State file a motion to proceed with adjudication of guilt,
alleging Appellant had violated the conditions of his probation.  Based on Appellant's open plea
of true to the State's motion, the trial court revoked Appellant's community supervision and
imposed a sentence of fifteen years imprisonment.

	Appellant's court appointed counsel has filed a brief in which she has concluded that the
appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct.
2094, 18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record
demonstrating why, in effect, there are no arguable grounds to be advanced.  See High v. State,
573 S.W.2d 807 (Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex.Crim.App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.Crim.App. 1969).  A copy of counsel's brief has been delivered to Appellant, and Appellant
has exercised his right to file a pro se brief.

	The record reflects that Appellant entered a plea of guilty before the trial court.  The court
admonished Appellant of the consequences of his plea pursuant to Tex.Code Crim.Proc.Ann.
art. 26.13 (Vernon Supp. 2005), and Appellant made a judicial confession admitting his guilt.  

	We have carefully reviewed the record and counsel's brief, and agree that the appeal is
wholly frivolous and without merit.  Further, we find nothing in the record that might arguably
support the appeal.  A discussion of the contentions advanced in the pro se brief would add
nothing to the jurisprudence of the state.  The judgment is affirmed.


November 30, 2007

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


